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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

ROBIN BERTONI,
    Plaintiff,
                                                     Case No. 17-cv-12673
v.                                                   Hon. Bernard A. Friedman
                                                     Mag. J.: David R. Grand
EQUITYEXPERTS.ORG, LLC,
     Defendant.
__________________________________________________________________

                STIPULATION OF DISMISSAL
 AS TO DEFENDANT EQUITYEXPERTS.ORG, LLC, WITH PREJUDICE
               AND WITHOUT COSTS OR FEES

      The parties, as evidenced by the signatures of their respective counsel below,

stipulate to the dismissal of Plaintiff’s claims against EquityExperts.org, LLC, with

prejudice and without attorney’s fees or costs to either party.


                                        Respectfully Submitted,

October 29, 2020
                                       /s/ Gary Nitzkin
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                                       CARL SCHWARTZ (P70335)
                                       GARY HANSZ (P44956)
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                                   /s/ Katrina M. DeMarte
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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

ROBIN BERTONI,
    Plaintiff,
                                                   Case No. 17-cv-12673
v.                                                 Hon. Bernard A. Friedman
                                                   Mag. J.: David R. Grand
EQUITYEXPERTS.ORG, LLC,
     Defendant.
__________________________________________________________________

                   ORDER OF DISMISSAL
 WITH PREJUDICE AS TO DEFENDANT EQUITYEXPERTS.ORG, LLC

      The Court, having reviewed the parties’ stipulation, and finding good cause

shown;

      IT IS HEREBY ORDERED that Plaintiff’s claims against

EquityExperts.org, LLC, are hereby dismissed with prejudice and without fees or

costs to either party. The Clerk of the Court shall terminate EquityExperts.org,

LLC as a party in this action and remove its attorneys of record from receiving

ECF Notifications.


                                          s/Bernard A. Friedman
Dated: November 3, 2020                   Bernard A. Friedman
       Detroit, Michigan                  Senior United States District Judge
